Case 3:18-cv-00126-REP-RCY Document 20 Filed 08/07/18 Page 1 of 3 PageID# 438



                   IN THE UNITED STATES DISTRICT COURT                    AUG - T 2018
                   FOR THE EASTERN DISTRICT OF VIRGINIA
                              Richmond Division                      CLtRK. U S OIRTRICT COURT   .
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JONATHAN LOWE and
JENNIFER LOWE,


      Plaintiffs,

V.                                        Civil Action No. 3:18cvl26


WELLS FARGO BANK, N.A.,


      Defendant.


                                     ORDER


      By ORDER (EOF No. 7) entered herein on March 16, 2018, DEFENDANT

WELLS FARGO BANK, N.A.'S MOTION TO DISMISS THE AMENDED COMPLAINT (EOF

No. 3) was referred to Magistrate Judge Roderick C. Young for report

and recommendation.


      Having reviewed the REPORT & RECOMMENDATION (ECF No. 14) entered

herein on July 9, 2018, the DEFENDANT'S OBJECTIONS TO THE REPORT AND

RECOMMENDATION      ON    DEFENDANT'S   MOTION   TO   DISMISS       THE   AMENDED


COMPLAINT (ECF No. 15), the PLAINTIFF'S OBJECTIONS TO JUDGE YOUNG'S

REPORT AND RECOMMENDATION (ECF No. 17), the DEFENDANT'S RESPONSE IN

OPPOSITION    TO    THE   PLAINTIFFS'   OBJECTIONS       TO   THE   REPORT      AND


RECOMMENDATION (ECF No. 18), the PLAINTIFFS' RESPONSE TO WELLS FARGO

BANK,   N.A.'S   OBJECTIONS    TO   MAGISTRATE   JUDGE   YOUNG'S     REPORT     AND

RECOMMENDATION (ECF No. 19), and having considered DEFENDANT WELLS

FARGO BANK, N.A.'S MOTION TO DISMISS THE AMENDED COMPLAINT (ECF No.

3), the supporting, opposing and reply memoranda, and the record and
Case 3:18-cv-00126-REP-RCY Document 20 Filed 08/07/18 Page 2 of 3 PageID# 439



the REPORT & RECOMMENDAITON (EOF No. 14) and finding no error therein,

it is hereby ORDERED that:

      (1)    DEFENDANT'S OBJECTIONS TO THE REPORT AND RECOMMENDATION

ON DEFENDANT'S MOTION TO DISMISS THE AMENDED COMPLAINT (EOF No. 15)

are overruled;

      (2)    PLAINTIFF'S   OBJECTIONS   TO   JUDGE   YOUNG'S   REPORT   AND

RECOMMENDATION (EOF No. 17) are overruled;

      (3)    The REPORT & RECOMMENDATION (EOF No. 14) is ADOPTED on the

basis of the reasoning of the REPORT & RECOMMENDATION;

      (4)    DEFENDANT WELLS FARGO BANK, N.A.'S MOTION TO DISMISS THE

AMENDED COMPLAINT (ECF No. 3) ("Motion to Dismiss") is granted in

part and denied in part as follows:

             (a)   The Motion to Dismiss is granted with respect to

      Counts I and II and, therefore. Counts I and II of the AMENDED

      COMPLAINT (ECF No. 1-2) are dismissed with prejudice;

             (b)   The Motion to Dismiss is denied with respect to Counts

      III;

             (c)   The Motion to Dismiss is denied with respect to Count

      IV as to the defendant's request to strike punitive damages and

      is granted with respect to Count IV as to the conversion claim

      for the assessment of flood insurance; and

             (d)   The Motion to Dismiss is granted with respect to Count

      V is denied; and
Case 3:18-cv-00126-REP-RCY Document 20 Filed 08/07/18 Page 3 of 3 PageID# 440



      (5)   An Initial Pretrial Conference is scheduled for 10:15 a.m.

September 19, 2018 and the Scheduling Order and Pretrial Schedule

A shall be entered herein.


      Further, the Court is aware that the defendant's computer system

precipitated over 600 erroneous referrals of loan modifications and

consequent foreclosures.      It is thus ORDERED that, by August 31,

2018, the defendant file a Statement of Position advising whether

the properties and loans at issue were among those properties and

loans that were subject of the computer errors and the ensuing

erroneous foreclosures.


      The issues are adequately addressed by the briefs and oral

argument would not materially aid the decisional process.

      It is so ORDERED.




                                               /s/        (is/
                             Robert E. Payne
                             Senior United States District Judge


Richmond, Virgimia
Date: August     Y < 2018
